 1   Evan Livingstone, SBN 252008
     ATTORNEY AT LAW
 2   740 4th St, Ste 215
     Santa Rosa CA 95404
 3   Phone: (707) 206-6570
     Fax: (707) 676-9112
 4   Email: evanmlivingstone@gmail.com

 5   Attorney for Debtor/Plaintiff Jose S. Martinez

 6

 7

 8                               UNITED STATES BANKRUPTCY COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                                  Case No.                15-11193

11    JOSE S. MARTINEZ                                        Chapter                 13

12                  Debtor                                    STIPULATION REGARDING PROOF
                                                              OF CLAIM OF STATE BOARD OF
13    ______________________________________/                 EQUALIZATION

14             Debtor Jose S Martinez (Debtor) and Creditor State Board of Equalization (Creditor)

15   enter into the following stipulation regarding Proof of Claim No. 1 filed in this case by the State

16   Board of Equalization in the amount of $22,526.63.

17             1) Debtor will dismiss with prejudice adversary proceeding no. 16-01004.

18             2) Debtor will not contest Creditor's right to retain all funds levied by Creditor prior to

19   the filing of this case.

20             3) Debtor will pay Creditor the remaining tax (sometimes called “principal”) of

21   $14,443.59 through Debtor's chapter 13 bankruptcy plan monthly ($240.73 each month for 60

22   months). If the Debtor defaults on the monthly payments, the Creditor can take appropriate legal

23   action, which may include seeking conversion or dismissal of this case.

24

                 Stipulation Regarding Proof of Claim of State Board of Equalization
     Case: 15-11193 Doc# 22 Filed: 04/28/16 Entered: 04/28/16 17:46:23 Page 1 of 2
 1          4) In the event Debtor's chapter 13 bankruptcy case is dismissed, this stipulation for

 2   settlement is void, and Creditor is expressly permitted to resume its normal collection procedures

 3   against the Debtor.

 4          5) In the event Debtor completes his bankruptcy plan and pays a total of $14,443.39

 5   through the bankruptcy, BOE will adjust off the remaining balance owed by Debtor to the State

 6   Board of Equalization and release all tax liens against Debtor.

 7          SO STIPULATED.

 8   Dated: April 25, 2016                        /s/Evan Livingstone
                                                  Evan Livingstone
 9                                                Attorney for Debtor Jose S Martinez

10

11   Dated: April 25, 2016                        KAMALA D. HARRIS
                                                  Attorney General of California
12

13                                                /s/Lucy F Wang
                                                  Lucy F. Wang, Deputy Attorney General
14                                                Attorneys for Creditor
                                                  State Board of Equalization
15

16

17

18

19

20

21

22

23

24

                 Stipulation Regarding Proof of Claim of State Board of Equalization
     Case: 15-11193 Doc# 22 Filed: 04/28/16 Entered: 04/28/16 17:46:23 Page 2 of 2
